Case: 2:20-cv-00025-WOB-CJS Doc #: 50 Filed: 05/17/21 Page: 1 of 2 - Page ID#: 417



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                  AT COVINGTON

 CIVIL ACTION NO. 19-56-WOB-CJS

 NICHOLAS SANDMANN, by and
 through his parents and natural guardians,
 TED SANDMANN and JULIE SANDMANN                                     PLAINTIFF

 v.

 NBCUNIVERSAL MEDIA, LLC                                           DEFENDANT


                               ***    ***     ***   ***


 CIVIL ACTION NO. 20-23-WOB-CJS

 NICHOLAS SANDMANN, by and
 through his parents and natural guardians,
 TED SANDMANN and JULIE SANDMANN                                     PLAINTIFF

 v.

 THE NEW YORK TIMES COMPANY
 d/b/a THE NEW YORK TIMES                                          DEFENDANT


                               ***    ***     ***   ***


 CIVIL ACTION NO. 20-24-WOB-CJS

 NICHOLAS SANDMANN, by and
 through his parents and natural guardians,
 TED SANDMANN and JULIE SANDMANN                                     PLAINTIFF

 v.

 CBS NEWS, INC., et al.                                           DEFENDANTS


                               ***    ***     ***   ***
Case: 2:20-cv-00025-WOB-CJS Doc #: 50 Filed: 05/17/21 Page: 2 of 2 - Page ID#: 418



 CIVIL ACTION NO. 20-25-WOB-CJS

 NICHOLAS SANDMANN, by and
 through his parents and natural guardians,
 TED SANDMANN and JULIE SANDMANN                                                      PLAINTIFF

 v.

 ABC NEWS, INC., et al.                                                            DEFENDANTS

                                                 ***        ***        ***   ***

 CIVIL ACTION NO. 20-27-WOB-CJS

 NICHOLAS SANDMANN, by and
 through his parents and natural guardians,
 TED SANDMANN and JULIE SANDMANN                                                      PLAINTIFF

 v.

 ROLLING STONE, LLC, et al.                                                        DEFENDANTS

                                                 ***        ***        ***   ***

                                                              ORDER

           This matter is before the Court on the Stipulated Protective Order agreed to and proposed

 by the parties in the above cases. Upon review, the Court finds that a telephonic Status Conference

 is needed to discuss the parties’ proposal. Accordingly,

           IT IS ORDERED that a telephonic Status Conference will be held on Tuesday, May 25,

 2021, at 11:30 a.m. EDT. Counsel should connect to the conference call five minutes before the

 conference is scheduled to begin. To connect to the call, dial 877-873-8017. Then, when

 prompted to enter the participant access code, enter 7604592 and #.

           Signed this 17th day of May, 2021.




 J:\DATA\Orders\civil cov\2019\19-56-WOB (etc) order ph call re PO.docx

                                                                   2
